                                     Exhibit 6D
                    July 16, 2014 K. Buckfire Deposition Transcript




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      1             KENNETH BUCKFIRE, VOLUME 2                           1            KENNETH BUCKFIRE, VOLUME 2
      2            IN THE UNITED STATES BANKRUPTCY COURT                 2
      3             FOR THE EASTERN DISTRICT OF MICHIGAN                 3
      4                                                                  4   CLAUDE D. MONTGOMERY, ESQ.
      5                                                                  5   Dentons US LLP
      6                                                                  6   1221 Avenue of the Americas
      7   In Re:                )       Chapter 9                        7   New York, New York 10020
      8                                                                  8      Appearing on behalf of the Retirement Committee.
      9   CITY of DETROIT, MICHIGAN, )              Case No. 13-53846    9
     10                                                                 10
     11               Debtor.       )   Hon. Steven Rhodes              11
     12   ____________________________                                  12   JENNIFER K. GREEN, ESQ.
     13                                                                 13   Clark Hill, PLC
     14                       VOLUME 2                                  14   500 Woodward Avenue, Suite 3500
     15                                                                 15   Detroit, Michigan 48226
     16        The Videotaped Deposition of KENNETH BUCKFIRE,           16      Appearing on behalf of the Retirement Systems for the
     17        a Rule 30(b)(6) witness,                                 17      City of Detroit.
     18        Taken at 1114 Washington Boulevard,                      18
     19        Detroit, Michigan,                                       19
     20        Commencing at 8:09 a.m.,                                 20
     21        Wednesday, July 16, 2014,                                21
     22        Before Leisa M. Pastor, CSR-3500, RPR, CRR.              22
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      1           KENNETH BUCKFIRE, VOLUME 2                             1            KENNETH BUCKFIRE, VOLUME 2
      2    APPEARANCES:                                                  2   ROBIN D. BALL, ESQ.
      3                                                                  3   Chadbourne & Parke, LLP
      4    THOMAS F. CULLEN, JR., ESQ.                                   4   350 South Grand Avenue, 32nd Floor
      5    Jones Day                                                     5   Los Angeles, California 90071
      6    51 Louisiana Avenue, N.W.                                     6       Appearing on behalf of Assured Guaranty Municipal
      7    Washington, D.C. 20001                                        7       Corporation.
      8       Appearing on behalf of the Debtor.                         8
      9                                                                  9
     10                                                                 10
     11                                                                 11   GUY S. NEAL, ESQ.
     12    CORINNE BALL, ESQ.,                                          12   Sidley Austin, LLP
     13    BENJAMIN ROSENBLUM, ESQ.                                     13   1501 K Street, N.W.
     14    Jones Day                                                    14   Washington, D.C. 20005
     15    222 East 41st Street                                         15       Appearing on behalf of National Public Financing.
     16    New York, New York 10017                                     16
     17       Appearing on behalf of the Debtor.                        17
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       2       possible level despite the fact that the underfunding      2   A. No.
       3       of the plan was growing, not shrinking, and because of     3   Q. There are certainly some?
       4       that low contribution rate, DWSD, even though it had       4   A. There are always some.
       5       the ability to fund at a higher level, because DWSD        5   Q. This isn't the only one.
       6       had the ability to charge through the ratepayers their     6   A. This is not a commercial plan; it's a public plan.
       7       appropriate expenses, was benefitting from the City's      7   Q. There may be public plans that are underfunded out
       8       own financial difficulties in a perverse way.              8      there, as well?
       9   Q. Was the contribution to the DWSD in these prior years       9   A. There are many worse than this one. I'll be calling
      10       addressing any underfunding, was that calculated by       10      them next.
      11       the City's actuaries?                                     11   Q. Who determined the amount of these payments that will
      12   A. I believe so.                                              12      be made by the DWSD to the pension plan?
      13   Q. Do you know whether the City's actuaries were in           13   A. It was determined in a negotiation with the pension
      14       agreement with the amounts that were being contributed    14      fund and trustees, the retirees' committee, supported
      15       by the City and or DWSD with respect to any               15      by the City's own actuaries, consultants to the City,
      16       underfunding?                                             16      and experts at Jones Day.
      17   A. My understanding was the minimum possible contribution     17   Q. You say they were supported by actuaries to the City;
      18       is what they were contributing.                           18      what do you mean by that?
      19   Q. All right, when you say minimum possible, minimum          19   A. Well, the calculation of how much to contribute to get
      20       compared to what?                                         20      to a target level of funding is something that an
      21   A. In pensions, whether they're corporate or public,          21      actuary is typically employed to do.
      22       you're supposed to maintain them at a reasonable level    22   Q. Okay. And my question isn't so much that as to
      23       of funding so that you can meet your obligations as       23      whether the amount of payment gets you to where you
      24       they come due.                                            24      want to get. My question is who determined that it
      25                In the corporate world, we normally assume       25      would be paid over the period that it was -- that it's

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       2       that a plan that's funded 80 percent or more is            2       being paid?
       3       adequately funded. A plan under 80 percent clearly         3   A. It was negotiated.
       4       has issues because you're not contributing enough to       4   Q. All right. It wasn't something that was recommended
       5       make up for the benefit expenses of that plan.             5       by the City's actuaries; is that correct?
       6                In the case of the Detroit plans, it was          6   A. No.
       7       clear after our initial analysis that they were            7   Q. No, it was not?
       8       grossly underfunded, which implies that the pension        8   A. It was not.
       9       contribution rates were too low to provide adequate        9   Q. In connection with this negotiation, was it also
      10       resources of the pension plans to meet future benefit     10       determined that the City would not be contributing to
      11       costs.                                                    11       the -- the reduction of the underfunding through 2023?
      12   Q. Just so I'm clear, you're not an actuary --                12               MR. CULLEN: Objection, I think we're
      13   A. I am not.                                                  13       getting into the negotiations under the mediation
      14   Q. -- correct? And you're not providing an expert             14       privilege, now we're getting into the terms of the
      15       opinion as an actuary in this case, are you?              15       negotiation. He was able to tell you that this was a
      16   A. I'm not.                                                   16       product of a negotiation. Now you're asking him to
      17   Q. And you're not providing any opinion in this case as       17       parse the negotiation, and that's beyond the pale.
      18       to the adequacy or inadequacy of the funding of the       18               MR. WEISBERG: Not agreeing with it, but
      19       plan; is that right?                                      19       we'll move on.
      20   A. Only to the extent that it's a fact that the plans         20               MR. CULLEN: Okay.
      21       were severely underfunded and we reported that fact in    21   BY MR. WEISBERG:
      22       June of 2013.                                             22   Q. To what extent was -- were you or and/or Miller
      23   Q. There are a lot of plans out there that are                23       Buckfire involved in connection with the underlying
      24       underfunded in the general commercial world; are there    24       assumptions that were used in order to calculate the
      25       not?                                                      25       UAAL in connection with the plan of adjustment?


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      1               KENNETH BUCKFIRE, VOLUME 2                         1            KENNETH BUCKFIRE, VOLUME 2
      2                 MR. CULLEN: I would just note for counsel        2      respect to post-2023; is that as predictable?
      3        that you can answer -- ask the question, but on the       3   A. Ten years, twenty years, anyone's guess.
      4        derivation of the -- what's been called the 428           4   Q. Okay. All right. It also indicates here that in that
      5        figure, Mr. Moore was designated as the 30(b)6            5      same paragraph, it says that the fact that such
      6        witness.                                                  6      obligations are driven by actuarial analyses and
      7                 MR. WEISBERG: Okay, and I'm not suggesting       7      assumptions, such obligations have traditionally
      8        that Mr. Buckfire wasn't so designated.                   8      served as a significant obstacle in the City's
      9    BY MR. WEISBERG:                                              9      financial planning effort.
     10    Q. I'm just asking you if you were involved in that          10              So I'm trying to connect up those two
     11        determination?                                           11      concepts. What -- what is the connection between the
     12    A. No.                                                       12      fact that these pension obligations are driven by
     13    Q. You are with Miller Buckfire?                             13      actuarial analyses and the fact that they create an
     14    A. Correct.                                                  14      obstacle to the City's financial planning?
     15    Q. And in paragraph 3 of your expert report -- and you       15   A. I already answered that question. Actuarial
     16        can refer to that. You indicate that in the third --     16      assumptions --
     17        third sentence starting with in addition, it says in     17   Q. Indulge me, it's been a long two days.
     18        addition to other obligations, the City will have        18   A. Actuarial assumptions and analysis ultimately do drive
     19        addressed and brought greater certainty and              19      required pension contribution costs. There's a cash
     20        predictability with respect to its pension benefit and   20      cost associated with being required by an actuary to
     21        OPEB obligations; do you see that?                       21      make certain contributions. That is inherently
     22    A. I do.                                                     22      unpredictable because it does change relative to
     23    Q. Okay, can you tell me what that means?                    23      market asset performance and benefit costs,
     24    A. I answered this question yesterday.                       24      themselves. It's not something directly within the
     25    Q. I'm sorry, I apologize. I might have missed               25      City's control, and the larger the underfunding is,

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       2       something. Could you give it to me again?                 2      the more of a projected burden that will be on the
       3   A. The City by action of the plan of adjustment is            3      City because at some point, that gap has to be closed,
       4       eliminating $7 billion worth of present value of          4      and that makes it very difficult for a City to make
       5       liabilities, most of which was represented by unfunded    5      long-term financial plans knowing that at some point
       6       pension and healthcare benefit costs. The burden of       6      in the next 10 or 20 years, it will have to satisfy
       7       those costs upon the City have been that the              7      its pension obligations whether or not it has the
       8       requirement to fund them currently with substantial       8      assets to do so.
       9       cash has often been outside of the City's control, as     9   Q. There's an actuarial component to what it's going to
      10       it's been driven by independent factors, healthcare      10      have to pay down the road; is there not?
      11       plans, benefit costs, pension contribution levels.       11   A. There is when you estimate today what your
      12              By eliminating such a large amount of the         12      contribution has to be to the pension fund but the
      13       present value and converting the balance of these        13      actual benefit costs, themselves, is something you
      14       remaining claims into a debt obligation stream           14      find out every year when people retire and register
      15       represented by the contribution by DWSD for catchup      15      for their claimant payments. So we're talking about
      16       and also by the series B notes, the City will have       16      the funding problem -- the funding problem, not the
      17       much greater control over it's discretionary costs and   17      benefit cost problem that drives this.
      18       its ability to meet its remaining contractual            18             I also note your earlier point that the
      19       obligations when due.                                    19      ten-year period of stability is crucial because we do
      20   Q. Well, okay, I certainly agree with you with respect to    20      assume and we have every right to do so that the
      21       through the years, the year 2023 that said you will      21      City's ability to revitalize itself be successful and,
      22       have virtually no obligation to pay in connection with   22      therefore, will have the ability to be a healthy
      23       those costs, correct?                                    23      viable City beyond year ten, which means from a
      24   A. Correct, that was an objective of our plan.               24      capital market's perspective, the expectation should
      25   Q. So that's certainly predictable. But what about with      25      be that it will have no difficulty raising capital


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